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12                          IN THE UNITED STATES DISTRICT COURT
13
                               FOR THE DISTRICT OF ARIZONA
14

15
     United States of America,                  Case No. CR18-00422-PHX-DJH
16
                       Plaintiff,               DEFENDANT SCOTT SPEAR’S SUPPLEMENT
17                                              TO HIS RULE 29 MOTION CONCERNING
     vs.                                        ALL COUNTS OF CONVICTION, AND
18                                              JOINDER IN RULE 29 SUPPLEMENTS OF
     Scott Spear, et al.,                       MICHAEL LACEY AND JOHN BRUNST
19

20                     Defendants.
                                                (Assigned to the Hon. Diane J. Humetewa)
21

22         Defendant Scott Spear, by and through his attorneys undersigned, and pursuant to
23   Rule 29 of the Federal Rules of Criminal Procedure, hereby supplements his verbal
24   motions challenging the sufficiency of the evidence as to all counts of the indictment
25   and specifically regarding all counts of conviction (Counts 1-18, 52-62, 71-78, 85 & 93),
26   and files this supplement to further explain some of the challenged issues. He also joins
27   in the supplements filed by defendants Michael Lacey and John Brunst.
28         This supplement and the joinders are based on the attached memorandum of
                                                1
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 1
     points and authorities, the file in this matter and such other arguments and evidence as

 2   may be presented.

 3
             RESPECTFULLY SUBMITTED this 4th day of December, 2023.
 4
                                                      FEDER LAW OFFICE, P.A.
 5
                                                      s/ Bruce Feder
 6
                                                      Bruce Feder
 7                                                    Knapp Counsel for Scott Spear
 8
                                                      KESSLER LAW GROUP
 9

10
                                                      s/ Eric Kessler
                                                      Eric Kessler
11                                                    Attorneys for Scott Spear
12

13                   MEMORANDUM OF POINTS AND AUTHORITIES
14   I.      FACTUAL BACKGROUND.
15           The defendants were originally indicted 3/28/2018 and a superseding indictment
16   was filed 7/25/2018. Although the alleged Travel Act conspiracy asserts a beginning/end
17   date of 2004-2018, the 50 specific ads in counts 2-51 are dated beginning 9/10/2013,
18   and within the applicable five year Statute of Limitations allowed by 18 U.S.C. § 3282.
19   Of these 50 ads, Mr. Spear was convicted of counts 2-18, which ads are dated from
20   9/10/2013 to immediately before the sale of Backpage to Carl Ferrer in April, 2015
21   (attached as Exhibits 1A-R). A review of these ads indicates: none contain GFE or PSE.
22   Two contain the words ’In call’. Eight others contain the words ’50 or 75 roses’. Four
23   others contain the words ‘new in town’. None of these ads contain any sex act terms or
24   acronyms, nor do they propose any illegal sex act. All ads state an age for the
25   advertiser/poster of 18 years or older.
26           A review of the trial transcripts and exhibits indicates there was no testimony or
27   exhibit which asserts or demonstrates that any defendant, including Mr. Spear, or even
28   cooperators Carl Ferrer or Dan Hyer, ever had any contact with any of the advertisers in
                                                  2
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 1
     these counts or any other counts. There was no testimony or exhibit that indicates any

 2   of the defendants, or Ferrer or Hyer, ever saw any of these ads, or knew their content.

 3   Also, there was no testimony or exhibit that indicated any of these ads were ever

 4   moderated in any fashion, were the result of aggregation, were posted by or otherwise

 5   associated with an alleged ‘super poster’ or ‘affiliate’. There was no testimony or exhibit

 6   that indicates these ads were in any way associated with The Erotic Review (‘TER’), or

 7   any number associated with TER. This absence is consistent with the testimony of Ferrer

 8   and Hyer that moderation was completely controlled by Elizabeth McDougal as of April

 9   2012, and that aggregation, super posters, and affiliates was no longer existent as of

10   2012. Although the allowance of TER numbers was apparently allowed in ads after

11   Ferrer’s purchase of Backpage in 2015, there was no ad that Mr. Spear was convicted of

12   that has any reference to TER or a TER number. There was no testimony, admitted

13   exhibit, or, most importantly, expert testimony that moderation, aggregation, super

14   posters, affiliate programs, or TER was an illegal program, practice, or organization.

15         A review of the admitted exhibits indicates no internal budget or other type of

16   meeting or itinerary where Mr. Spear was present after 1/1/2013 nor any external
17   meetings with state prosecutors, non-profits (NCMEC, etc.), or the media after 1/1/2013.
18    Although it was clear from the nature and extent of Ferrer’s and Hyer’s testimony that
19   they were willing to assert almost anything to substantiate the prosecution theory or
20   requests, there was no testimony that either Ferrer, Hyer or both ever discussed between
21   themselves, or with any defendant, the overt agreement to violate the charged travel act
22   or the money laundering statutes. There were no emails or other written
23   exhibits discussing the same.
24         In regard to the money laundering counts of conviction against Mr. Spear (Counts
25   52-62,71-78, 85 & 93), the only testimony or admitted exhibit indicates Mr. Spear was
26   paid from the Cereus account directly to his and his spouse’s (Ellon Spear) National
27   Bank of Arizona accounts existing in their names, and that any transfers from this
28   account was to accounts also in their names (to an interest bearing account in their names
                                                 3
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     or for a Section 529 education account for their daughter). There was no evidence of any

 2   action or effort to hide or obscure in any way the receipt of payments from any account

 3   associated with Backpage or Ferrer.

 4         Following the conclusion of the government’s case, Defendant Scott Spear orally

 5   moved for a judgment of acquittal on all counts. The Court reserved decision on the

 6   motion and has not yet ruled. Meanwhile, the jury acquitted Spear on thirty-three of

 7   fifty counts of violating the Travel Act (Counts 19-51) and six counts of International

 8   Promotional Money Laundering (Counts 63-68), while convicting him of conspiracy to

 9   violate the Travel Act (Count 1), seventeen counts of violating the Travel Act, conspiracy

10   to commit money laundering (Count 52), and Transactional Money Laundering (Counts

11   53-62, 71-78, and 93). Spear’s convictions are legally unsupportable and based on

12   insufficient evidence. This brief supplements Spear’s previous arguments considering

13   the government’s closing argument and the verdict.

14   II.   THE LAW.

15      a.   There Was Insufficient Evidence Admitted Against Mr. Spear To
16 Support Any Conviction.

17         A review of the evidence admitted, both from testimony and exhibits
18   demonstrates there was virtually no evidence indicative of criminality submitted against
19   Mr. Spear to justify the convictions. There is no better demonstration of this evidentiary
20   absence than reviewing the exhibits the prosecution referenced in its rebuttal closing
21   argument as being its best evidence. Mr. Berry referenced exhibits 19, 23, 652A, 684A
22   and 804 for Mr. Spear (RT 11/1/2023, pgs. 38:20-25 and 39:1-19). A review of these
23   exhibits, attached as exhibits 2A-E, indicates: all are dated before 2012, none
24   demonstrate any actions taken by Mr. Spear, none demonstrate any statements made by
25   Mr. Spear that is inculpatory or indicates any specific intent to commit a travel act
26   conspiracy or substantive act or a money laundering conspiracy or substantive act, and
27   none indicate the commission of any crime by any of the defendants or anyone else.
28         In Jackson v. Virginia, 443 U.S. 307, 318-19 (1079), the Supreme Court asserted
                                                 4
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     that the issue determined by a Rule 29 motion is whether” …after viewing the evidence

 2   in the light most favorable to the prosecution, any rational trier of fact could have found

 3   the essential elements of the crime beyond a reasonable doubt.” As discussed below in

 4   the subsection on the preclusive effect of the applicable statute of limitation, there was

 5   virtually no evidence against Mr. Spear concerning the operation of Backpage after he

 6   was relieved of any responsibility for the legitimate moderation efforts of Backpage after

 7   Ms. McDougal and Mr. Moon assumed these responsibilities in late 2011/early 2012.

 8   Since the government appears to assert that the ads posted on Backpage are the basis of

 9   its travel act charges, and the proceeds from these ads are the basis of the money

10   laundering charges, the evidence of any criminality is lacking.

11      b.    The Government Failed, As A Matter Of Law, To Establish That
   Backpage.com’s Publication Of The Ads Underlying Counts 2-18 Was Unprotected
12 By The First Amendment.

13
           All speech, including the publication of adult advertisements, is presumptively
14
     protected by the First Amendment to the United States Constitution and the government
15
     has the burden to prove that particular expressions of speech are outside the protection
16
     of the First Amendment. Bursey v. United States, 466 F.2d 1059, 1082 (9th Cir. 1972)
17
     (“All speech, press, and associational relationships are presumptively protected by the
18
     First Amendment; the burden rests on the Government to establish that the particular
19
     expressions or relationships are outside its reach.”). “From 1791 to the present, the First
20
     Amendment has permitted restrictions upon the content of speech in a few limited areas,
21
     and has never included a freedom to disregard these traditional limitations.” Brown v.
22
     Entm’t Merchs. Ass’n, 564 U.S. 786, 791 (2011) (cleaned up). Those limited areas,
23
     which represent “well-defined and narrowly limited classes of speech, the prevention
24
     and punishment of which have never been thought to raise any Constitutional problem,”
25
     include obscenity, incitement to violence, and fighting words. Id. (emphasis added).
26
     Those narrowly limited areas also include speech that “proposes an illegal transaction.”
27
     Valle Del Sol Inc. v. Whiting, 709 F.3d 808, 821 (9th Cir. 2013).
28

                                                 5
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            When addressing exceptions to the First Amendment, the watchword is “narrowly

 2   limited.” Yet, from the start of its opening statement to the final seconds of its rebuttal

 3   closing, the government ignored that watchword, encouraging the jury to convict

 4   defendants because they did not stop publishing adult-oriented classified advertising on

 5   Backpage.com even though they knew some of the millions of ads Backpage.com

 6   published would be associated with unlawful activity and also knew that numerous third

 7   parties claimed that many or most of the adult-oriented classified ads on Backpage.com

 8   were associated with unlawful activity. Virtually all the evidence the government

 9   presented at trial was aimed at supporting these claims of the government—not whether

10   the specific classified ads at issue “proposed illegal transactions,” as that phrase has been

11   “narrowly limited” by the Ninth Circuit and other courts. Because the government failed

12   to prove that the classified ads underpinning Counts 2-18 “proposed illegal

13   transactions,” the government failed to overcome the presumption that Backpage’s

14   publication of those ads was protected by the First Amendment and, therefore, could not

15   be the basis for a criminal prosecution or conviction.1

16          In presenting its case and arguing it to the jury, the government treated the
17   exception for speech that “proposes an illegal transaction” as if it could be satisfied by
18   the government showing that speech might lead to, or be associated with, illegal activity,
19   but the exception for speech that proposes an illegal transaction is far more constrained,
20
     1
21      Of course, even if the government had proved that one of the charged ads proposed an
     illegal transaction and, therefore, was outside of the protection of the First Amendment,
22
     that only would mean that the government could then seek to prove all the elements of
23   a Travel Act offense, including that a defendant took some action relating to an ad with
     the specific intent to facilitate an illegal prostitution enterprise associated with the ad—
24
     something the government failed to prove as to any ad at issue in this case as to any
25   defendant. To the contrary, the government, in its rebuttal closing, disclaimed any
     obligation to show that any defendant had any knowledge about any of the charged ads.
26
     (“Next, the defendants argue, well, they had [no] knowledge of these specific 50
27   ads….what I’m not going to show you is a jury instruction says we must prove that any
     defendant had specific knowledge of these particular ads because it isn’t in there. We
28
     don’t have to do that.”) 11/01/23 a.m. Tr. at 50:6-14.
                                                  6
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 1
     encompassing only speech that itself proposes an illegal transaction, not speech that

 2   might lead to unlawful activity. In Cent. Hudson Gas & Elec. Corp. v. Pub. Serv.

 3   Comm’n of N.Y., 447 U.S. 557, 566 (1980), the Supreme Court said that the First

 4   Amendment did not protect speech “related to unlawful activity.” The Ninth Circuit,

 5   like most courts, has construed that exception quite narrowly. In Valle Del Sol, the Ninth

 6   Circuit said that “Central Hudson’s legality requirement…has traditionally focused on

 7   the content of affected speech—i.e., whether the speech proposes an illegal

 8   transaction—instead of whether the speech is associated with unlawful activity.” 709

 9   F.3d at 821 (emphasis added). The Ninth Circuit further said that “[n]othing in

10   Pittsburgh Press 2…suggests that we should expand our inquiry beyond whether the

11   affected speech proposes a lawful transaction to whether the affected speech is

12   conducted in a lawful manner.” Id. at 822. The Ninth Circuit subsequently put an even

13   sharper edge on its holding in Valle del Sol, saying: “Pittsburgh Press implicates only

14   those instances when the state restricts speech that itself proposes an illegal

15   transaction.” IMDb.com Inc. v. Bacerra, 962 F.3d 1111, 1123 (9th Cir. 2020) (emphasis

16   added). “When the legality of a proposed commercial transaction depends on
17   circumstances outside the content of the speech, the activity is lawful and the speech is
18   entitled to protection under Central Hudson.” Centro de la Comunidad Hispana de
19   Locust Valley v. Town of Oyster Bay, 128 F. Supp. 3d 597, 614-15 (E.D.N.Y. 2015), aff’d.
20   868 F.3d 104, 114 (2d Cir. 2017).
21           The government also inaccurately told the jury that the exception for speech that
22   “proposes an illegal transaction” could be applied to classified ads on Backpage.com ads
23   even if they did not expressly propose facially illegal transactions, either because ads on
24   Backpage.com had to be read in “context, ” “because context matters,”3 or because ads
25   on Backpage.com included “code words” that some might interpret as proposing illegal
26

27
     2
         Pitt. Press Co. v. Pitt. Comm. on Human Relations, 413 U.S. 376, 377-80 (1973).
28   3
         11/01/23 a.m. Tr. at 42:1-14.
                                                 7
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 1
     activity. 4 But that position, too, is directly at odds with the narrow manner in which the

 2   courts have construed the exception for speech that proposes an illegal transaction,

 3   because ambiguous speech which might, or might not, propose an illegal transaction is

 4   protected by the First Amendment. Centro de la Comunidad, 868 F.3d at 114 (“[T]he

 5   First Amendment offers no protection to speech that proposes a commercial transaction

 6   if consummation of that transaction would necessarily constitute an illegal act.

 7   However, if, as here, there are plausible ways to complete a proposed transaction

 8   lawfully, speech proposing that transaction ‘concerns lawful activity’ and is therefore

 9   protected commercial speech.”) (emphasis in original); Greater Phila. Chamber of

10   Comm. v. City of Phila., 949 F.3d 116, 142 & n.170 (3d Cir. 2020) (rejecting city’s

11   argument that speech “concern[ed] unlawful activity,” where the speech might relate to

12   unlawful activity, because “commercial speech should not lose the protection of the First

13   Amendment simply because a legislature has prohibited one of many uses of the

14   regulated speech,” unlike restricting “advertising of the sale of cocaine, for example,

15   [which] would present a speech restriction that always and only related to illegal activity

16   because there are no other legal uses/purposes behind the sale of cocaine”) (emphasis in
17   original)).5
18
     4
19     See, e.g., 08/31/23 p.m. Tr. at 150:14-16 (“The biggest coded term of all was
     “escort.” Because when “escort” was used on Backpage, it meant prostitution.”).
20   5
       Accord Backpage.com, LLC v. McKenna, 881 F. Supp. 2d 1262, 1279 (W.D. Wash.
21   2012) (striking down state statute as unconstitutionally vague under the First
     Amendment, saying “what does it mean for the website operator to ‘know’ that an
22
     advertisement ‘implicitly’ offers sex?... [W]here an online service provider publishes
23   advertisements that employ coded language, a reasonable person could believe that facts
     exist that do not in fact exist: an advertisement for escort services may be just that.”);
24
     Backpage.com, LLC v. Hoffman, Case No. 13–cv–03952 (DMC)(JAD), 2013 WL
25   4502097 (D.N.J. Aug. 20, 2013) (striking down, under First Amendment, state statute
     criminalizing the publication of advertisements “that would appear to a reasonable
26
     person to be for the purpose of engaging in what would be a commercial sex act…with
27   a minor” and rejecting state’s claim that the statute “regulates illegal
     advertisements…not protected by the First Amendment” because, among other things,
28
     “[d]escribing criminal conduct as anything that is ‘implicit’ is inherently vague, because
                                                 8
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 1
           The government’s opening statement provides two textbook examples of why the

 2   courts narrowly construe the exception for speech that proposes an illegal transaction to

 3   encompass only speech that necessarily proposes an illegal transaction. During its

 4   opening, the government said: “[T]here is such a thing as a legal escort, someone who

 5   is paid for companionship. You think of going to your high school reunion. You don’t

 6   have a date, so you pay someone to be your date.” 08/31/23 p.m. Tr. at 149:25-150:3.

 7   Only moments later, the government contrasted “legal escorts” with escorts advertising

 8   on Backpage.com, claiming that, when the term “‘escort’ was used on Backpage, it

 9   meant prostitution.” Id. at 150:14-16. Just after that, the government claimed that, on

10   Backpage.com, escorts offering to act as your “girlfriend” were not proposing to act like

11   your girlfriend at a high school reunion, because on Backpage.com “Girlfriend

12   Experience” “means sex” and other “things that a girlfriend might do: open-mouth

13   kissing, or closed-mouth kissing.” Id. at 151:6-11.

14         Over just three transcript pages, the government said that escorts were lawful,

15   except if they advertised on Backpage.com, and that it was legal for an escort to act like

16   your girlfriend except for girlfriend experiences. If the government could prosecute
17   publishers for publishing speech that might propose an illegal transaction, but also might
18   not, a publisher of third-party adult-oriented speech would only be able to avoid criminal
19   liability by refusing to publish any such content, because the publisher has no means to
20   determine whether a person wishing to post an escort (or massage or dating) ad intends
21   to engage in legal or illegal activity, or whether an escort (or masseuse or potential date)
22   who proposes to act like your girlfriend means doing so legally or illegally. But the First
23   Amendment simply does not allow the government to suppress protected speech as the
24   means to suppress unlawful speech. Packingham v. North Carolina, 137 S. Ct. 1730,
25   1738 (2017) (“the Government ‘may not suppress lawful speech as the means to
26   suppress unlawful speech’”); Ashcroft v. Free Speech Coalition, 535 U.S. 234, 255
27
     it means ‘[n]ot directly expressed [and] existing [only] inferentially’ and ‘fails to clearly
28
     mark the boundary between what is permissible and impermissible’”).
                                                  9
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 1
     (2002) (“The government may not suppress lawful speech as the means to suppress

 2   unlawful speech.”); Centro de la Comunidad, 868 F.3d at114; Greater Phila. Chamber

 3   of Comm., 949 F.3d at 142 & n.170; McKenna, 881 F. Supp. 2d at 1277 (“a speaker may

 4   not be put at complete peril in distinguishing between protected and unprotected

 5   speech,” “[o]therwise, he could only be certain of avoiding liability by holding his

 6   tongue, causing him ‘to make only statements which ‘steer far wide [ ] of the unlawful

 7   zone.’’”) (quoting United States v. United States Dist. Ct. for the Cen. Dist. of Cal., 858

 8   F.2d 534, 539 (9th Cir. 1988).        Here, the Court need not wonder whether the

 9   government’s aim in this prosecution has been to unconstitutionally punish the

10   defendants for refusing to accede to demands that Backpage.com stop publishing what

11   numerous courts previously held was First Amendment protected speech as the means

12   to suppress any ads that might be related to prostitution on Backpage.com, because the

13   government expressly said so in its rebuttal closing argument urging the jury to convict

14   the defendants. 6

15           The jury convicted Mr. Spear of violating the Travel Act based on
16   Backpage.com’s publication of seventeen ads. The government told the jury in its
17   rebuttal closing that it was “clear and obvious” that those ads were for prostitution, but
18   not only is that simply untrue, it also is irrelevant. Nine of those seventeen ads expressly
19   disclaimed being solicitations of prostitution and, therefore, plainly did not propose
20   transactions that necessarily would have been illegal. Exhs. 216-a, 504-511. Moreover,
21   whatever the government or the jury may have surmised about the intended activities of
22   the persons posting or responding to those ads (and regardless of whether the persons
23

24   6
       11/01/23 a.m. Tr. at 43:16-24 (“They knew that this site was replete with these ads,
25   and they used coded language like GFE, which is in this one, Greek, boococky [sic]. It’s
     the name of the game, the coded language. They knew the codes were sex for money
26
     and they knew the codes were endless. They knew the only way to actually prevent the
27   promotion of prostitution enterprises was to do one thing, shut the site down, but they
     didn’t want to do that because of the object of the conspiracy, which was to make
28
     money.”)
                                                 10
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     posting or responding to those ads intended to engage in illegal activity), not one of those

 2   ads necessarily proposed an illegal transaction. The government repeatedly urged the

 3   jury in its closings to convict the defendants based on Backpage.com’s publication of

 4   those ads, but, as a matter of law, the government failed to establish that the publication

 5   of those ads was outside the protection of the First Amendment. 7 Therefore, the jury’s

 6   verdict against Mr. Spear on Counts 2-18 cannot stand.

 7      c.    The Government Failed, As A Matter Of Law, To Establish That Any
   Of The Defendants Conspired For Backpage.com To Publish Any Adult Ads That
 8 Were Unprotected By The First Amendment.

 9
             The government likewise failed to prove that any defendant, including Mr. Spear,
10
     agreed to have Backpage.com publish any classified ads that proposed illegal
11
     transactions. The government, therefore, failed to establish that any defendant conspired
12
     to publish one or more classified ads whose publication by Backpage.com was not
13
     protected by the First Amendment.
14
             Of all the ads that the government introduced into evidence at trial, just two
15
     proposed what, at least arguably, were illegal transactions. Those were exhibit 218,
16
     relating to Count 23 (as to which both Messrs. Spear and Brunst were found not guilty)
17
     and exhibit 1602. Both exhibits related to trial witness Anya Beck. The government
18
     presented absolutely no evidence that any defendant, or any purported co-conspirator
19
     (including the government’s cooperators), (a) had any knowledge of those ads or of Ms.
20
     Beck or her pimp, (b) had any knowledge that Anya Beck or her pimp were engaged in
21
     an illegal prostitution enterprise, (c) was involved in any manner with the publication of
22

23
     7
       The government also failed to prove that Mr. Spear (a) had any knowledge of the ads
24
     or the persons posting them, (b) had any knowledge that the persons who posted those
25   ads were engaged in an illegal prostitution enterprise, or (c) was involved in any manner
     with the publication of those ads. Therefore, the government has no basis to contend
26
     that First Amendment’s presumptive protections would not apply to Counts 2-18, on the
27   grounds that Mr. Spear had actual knowledge that those ads were associated with
     prostitution and took some action to publish the ads with the intent to facilitate the crimes
28
     of those posting the ads.
                                                  11
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 1
     those ads, or (d) agreed in any manner that those ads should be published. To the

 2   contrary, the evidence at trial clearly established that, after Backpage.com started

 3   moderating ads, ads like those in exhibits 218 and 1602 were never permitted on

 4   Backpage.com. In the absence of any evidence of a conspiracy to publish exhibits 218

 5   or 1602, even if Backpage.com’s publication of those ads was outside of the protection,

 6   those ads cannot support the convictions of Messrs. Spear or Brunst under Count 1.

 7         As the remaining ads the government introduced into evidence at trial did not

 8   propose illegal transactions, Backpage.com’s publication of those ads was

 9   presumptively protected the First Amendment (as was Backpage.com’s publication of

10   the millions of adult ads to which the government merely alluded during the trial).

11         The only evidence that the government presented in an attempt to show that Ferrer

12   had contemporaneous knowledge of the charged ads, took any action to cause the

13   publication of the charged ads, or had the specific intent to facilitate any of the business

14   enterprises associated with any of the charged ads was Ferrer’s testimony relating to

15   emails with “P.R.” 9/14/23 PM Tr. at 80:4-104:19. See, exhibits 504-513. Although the

16   government sought to convey the impression during its examination these emails were
17   exchanged between Ferrer and P.R., the government’s questions and Ferrer’s responses
18   were carefully phrased to characterize the communications as being between
19   carl@backpage.com (an email address) and P.R. On subsequent cross-examination,
20   Ferrer admitted that carl@backpage.com was not his email address, but was an email
21   address used by his staff. 10/10/23 AM Tr. at 104:3-23 (“It really wasn't my email
22   address.”). Moreover, the government presented no evidence to tie any charged ad to
23   those emails, which were exchanged from October 2010 to September 2012, one to three
24   years before the first charged ad was published on September 10, 2013.
25        d.   The Mere Presence of Spear At Backpage Was Insufficient To Convict
     On Any Count.
26

27         Given the lack of any role played by Mr. Spear in any alleged conspiracy or
28   substantiative charge from March 28, 2013 to March 28, 2018, he must be acquitted
                                                 12
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 1
     pursuant to Rule 29. The Defense requested that the jury be instructed on mere presence

 2   but this instruction was rejected. Even if the Court found Mr. Spear knew there were

 3   travel act and/or money laundering conspiracies, or the substantiative counts of

 4   conviction, there was no action of Mr. Spear demonstrated in the testimony or admitted

 5   exhibits to show the necessary participation element of these crimes. There was further

 6   insufficient evidence of the required specific intent needed to convict. The Ninth Circuit

 7   mere presence instruction submitted, 5.12, requires participation. However, from March

 8   23, 2013 to March 28, 2018, Mr. Spear did not participate. See, Dennis v. United States,

 9   302 F.2d 5, 12-13 (10th Cir. 1962); United States v. Lee, 991 F.2d 343,348 (6th Cir. 1993).

10      e.    The Applicable Statute Of Limitation Precludes Conviction Because
   The Primary Basis Of Conviction Are Allegations And Evidence Of Events And
11 Conversations That Occurred Before March 28, 2013.

12
           Over defense objection, the substantial majority of the evidence presented by the
13
     prosecution occurred before March 28, 2013. This includes, but is not limited to: 1) the
14
     alleged marketing strategy that included aggregation of ads from Craigslist, Google and
15
     other sources, reciprocal link relationship with The Erotic Review, discounts to the Super
16
     Posters (William Mercer “Dolla Bill”, SOMAD, etc.) and affiliate programs, 2)
17
     moderation (as allowed and encouraged by Communications Decency Act, section 230),
18
     and 3) the alleged non-disclosure of these actions to NAAG, NCMEC, and other groups.
19
     An overt act in furtherance of the conspiracy must occur within the applicable period of
20
     limitation. Grunewald v. U.S., 353 U.S. 391, 396-397 (1957). The jury must have found
21
     an overt act that occurred after March 28, 2013. U.S. v. Fuchs, 218 F.3d 957, 961 (9th
22
     Cir. 2000). The acts occurring after this date were the ads constituting Counts 2-18, the
23
     sale of Backpage to Ferrer in April of 2015, and the loan re-payments of the seller-
24
     financed sale. Any alleged conspiracy involving the pre-2013 actions had ended by the
25
     cessation of aggregation, etc. Mr. Spear’s role in moderation ended with the publicized
26
     transfer of responsibility for/substantial charge in moderation by Ms. McDougal and Mr.
27
     Moon in 2011-2012. See, U.S. v. Koonin, 361 F.3d 1250, 1251, 1253 (9th Cir. 2004).
28

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 1
     There can be no liability from a pre-2013 conspiracy. See, United States v. Kotteakos,

 2   328 U.S. 750 (1946).

 3         RESPECTFULLY submitted this 4th day of December, 2023.

 4                                                 FEDER LAW OFFICE, P.A.

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 6                                                 Bruce Feder
                                                   Knapp Counsel for Scott Spear
 7

 8                                                 KESSLER LAW GROUP

 9                                                 s/ Eric Kessler
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 1
                                 CERTIFICATE OF SERVICE

 2         I hereby certify that on December 4, 2023, I electronically transmitted the attached
 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of
 4   a Notice of Electronic Filing to the CM/ECF registrants who have entered their
 5   appearance as counsel of record.
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   THE HONORABLE DIANE J. HUMETEWA
12 United States District Court
13 Email: Humetewa_chambers@azd.uscourts.gov

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